                                                                                           Rev 12/01/19

                              LOCAL BANKRUPTCY FORM 3015-1

                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE:
Erica Lelah Berta                                           CHAPTER:              13

                                                            CASE NO.              5:22-bk-00419

                                                                     ORIGINAL PLAN
                                               Debtor(s) 1st         AMENDED PLAN (indicate #)
                                                            0        Number of Motions to Avoid Liens
                                                            0        Number of Motions to Value Collateral


                                        CHAPTER 13 PLAN

                                              NOTICES
  Debtors must check one box on each line to state whether or not the plan includes each of the
  following items. If an item is checked as “Not Included” or if both boxes are checked or if
  neither box is checked, the provision will be ineffective if set out later in the plan.

   1 The plan contains nonstandard provisions, set out in § 9,          X Included          Not
     which are not included in the standard plan as approved by                         Included
     the U.S. Bankruptcy Court for the Middle District of
     Pennsylvania.
   2 The plan contains a limit on the amount of a secured claim,           Included      X Not
     set out in § 2.E, which may result in a partial payment or no                      Included
     payment at all to the secured creditor.
   3 The plan avoids a judicial lien or nonpossessory,                     Included      X Not
     nonpurchase- money security interest, set out in § 2.G                             Included

                              YOUR RIGHTS WILL BE AFFECTED
  READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
  timely written objection. This plan may be confirmed and become binding on you without further
  notice or hearing unless a written objection is filed before the deadline stated on the Notice issued
  in connection with the filing of the plan.




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1. PLAN FUNDING AND LENGTH OF PLAN.

  A. Plan Payments From Future Income
     1. To date, the Debtor paid $ 0.00 (enter $0 if no payments have been made to the Trustee
        to date). Debtor shall pay to the Trustee for the remaining term of the plan the
        following payments. If applicable, in addition to monthly plan payments, Debtor shall
        make conduit payments through the Trustee as set forth below. The total base plan is
        $9,000.00 plus other payments and property stated in § 1B below:

   Start           End              Plan           Estimated        Total           Total
  mm/yyyy         mm/yyyy         Payment           Conduit        Monthly         Payment
                                                   Payment         Payment         Over Plan
                                                                                     Tier

   04/2022         03/2027         $150.00           $0.00          $150.00        $9,000.00




                                                                 Total
                                                                 Payments:         $9,000.00

     2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
        Trustee that a different payment is due, the Trustee shall notify the Debtor and any
        attorney for the Debtor, in writing, to adjust the conduit payments and the plan
        funding. Debtor must pay all post-petition mortgage payments that come due before
        the initiation of conduit mortgage payments.

     3. Debtor shall ensure that any wage attachments are adjusted when necessary to
        conform to the terms of the plan.

     4. Check One:
                  Debtor is at or under median income.
              If this is checked, the rest of § 1.A.4 need not be completed or reproduced.

              X    Debtor is over median income. Debtor estimates that a minimum of $
                   3,160.20 must be paid to allowed unsecured creditors in order to comply
                   with the Means Test.

  B. Additional Plan Funding From Liquidation of Assets/Other



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     1. The Debtor estimates that the liquidation value of this estate is $0.00.
        (Liquidation value is calculated as the value of all non- exempt assets after the
        deduction of valid liens and encumbrances and before the deduction of
        Trustee fees and priority claims.)

        Check one of the following two lines:
         X No assets will be liquidated. If this is checked, skip § 1.B.2 and complete § 1.B.3 if
        applicable.

        ___ Certain assets will be liquidated as follows:

    2. In addition to the above specified plan payments, Debtor shall dedicate to the plan
       proceeds in the estimated amount of $ ____________ from the sale of property
       known and designated as _____________. All sales shall be completed by
       ______________. If the property does not sell by the date specified, then the
       disposition of the property shall be as follows: ______________________________

    3. Other payments from any source(s) (describe specifically) shall be paid to the
       Trustee as follows: ____________________________________________________


2. SECURED CLAIMS.

     A. Pre-Confirmation Distributions. Check One:

                   None.
                   If this is checked, the rest of § 2.A need not be completed or reproduced.

             ☐     Adequate protection and conduit payments in the following amounts will be
                   paid by the Debtor to the Trustee. The Trustee will disburse these payments
                   for which a proof of claim has been filed as soon as practicable after receipt
                   of said payments from the Debtor.

                      Name of Creditor                            Last Four Digits       Estimated
                                                                    of Account        Monthly Payment
                                                                      Number




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     1. The Trustee will not make a partial payment. If the Debtor makes a partial plan
        payment, or if it is not paid on time and the Trustee is unable to pay timely a
        payment due on a claim in this section, the Debtor’s cure of this default must
        include any applicable late charges.

     2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in
        the conduit payment to the Trustee will not require modification of this plan.

 B. Mortgages (Including Claims Secured by Debtor’s Principal Residence)
    and Other Direct Payments by Debtor. Check One:

                   None.
                   If this is checked, the rest of § 2.B need not be completed or reproduced.

             X     Payments will be made by the Debtor directly to the creditor according to
                   the original contract terms, and without modification of those terms unless
                   otherwise agreed to by the contracting parties. All liens survive the plan if
                   not avoided or paid in full under the plan.

        Name of Creditor                       Description of Collateral                Last Four Digits
                                                                                          of Account
                                                                                           N umber
Quicken Loans                        193 Bell Bend Rd., Berwick, PA 18604


M&T Bank                             2010 Ford F150


Wells Fargo Dealer Services          2019 Ford Fiesta



 C. Arrears (Including, but not limited to, claims secured by Debtor’s
    principal residence). Check One:

                 None.
                 If this is checked, the rest of § 2.C need not be completed or reproduced.

                 The Trustee shall distribute to each creditor set forth below the amount of
                 arrearages in the allowed claim. If post-petition arrears are not itemized in an
                 allowed claim, they shall be paid in the amount stated below. Unless otherwise
                 ordered, if relief from the automatic stay is granted as to any collateral listed in
                 this section, all payments to the creditor as to that collateral shall cease, and the
                 claim will no longer be provided for under § 1322(b)(5) of the Bankruptcy Code:

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     Name of Creditor           Description of             Estimated      Estimated         Estimated
                                 Collateral               Pre-petition    Postpetition     T otal to be
                                                          Arrears to      Arrears to       paid in plan
                                                           be Cured        be Cured




 D. Other secured claims (conduit payments and claims for which a § 506
    valuation is not applicable, etc.) Check One:

                None.
                If this is checked, the rest of § 2.D need not be completed or reproduced.

           ☐    The claims below are secured claims for which a § 506 valuation is not
                applicable, and can include: (1) claims that were either (a) incurred within
                910 days of the petition date and secured by a purchase money security
                interest in a motor vehicle acquired for the personal use of the Debtor, or
                (b) incurred within 1 year of the petition date and secured by a purchase
                money security interest in any other thing of value; (2) conduit payments;
                or (3) secured claims not provided for elsewhere.

          1. The allowed secured claims listed below shall be paid in full and their liens
             retained until the earlier of the payment of the underlying debt determined
             under nonbankruptcy law or discharge under §1328 of the Code.

          2. In addition to payment of the allowed secured claim, present value interest
             pursuant to 11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the
             amount listed below, unless an objection is raised. If an objection is raised,
             then the court will determine the present value interest rate and amount at
             the confirmation hearing.

          3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim
             was paid, payments on the claim shall cease.




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    Name of Creditor          Description of Collateral    Principal       Interest    Total to be
                                                           Balance of       Rate       Paid in Plan
                                                             Claim




 E. Secured claims for which a § 506 valuation is applicable.       Check One:


                None.
                If this is checked, the rest of § 2.E need not be completed or reproduced.

           ☐    Claims listed in the subsection are debts secured by property not described in
                § 2.D of this plan. These claims will be paid in the plan according to
                modified terms, and liens retained until the earlier of the payment of the
                underlying debt determined under nonbankruptcy law or discharge under
                §1328 of the Code. The excess of the creditor’s claim will be treated as an
                unsecured claim. Any claim listed as “$0.00” or “NO VALUE” in the
                “Modified Principal Balance” column below will be treated as an unsecured
                claim. The liens will be avoided or limited through the plan or Debtor will
                file an adversary or other action (select method in last column). To the extent
                not already determined, the amount, extent or validity of the allowed
                secured claim for each claim listed below will be determined by the court at
                the confirmation hearing. Unless otherwise ordered, if the claimant notifies
                the Trustee that the claim was paid, payments on the claim shall cease.

   Name of Creditor       Description of           Value of     Interest    Total          Plan,
                           Collateral             Collateral     Rate      Payment      Adversary
                                                  (Modified                              or Other
                                                  Principal)                              Action




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  F. Surrender of Collateral.                Check One:

                              None.
                              If this is checked, the rest of § 2.F need not be completed or reproduced.

                      ☐       The Debtor elects to surrender to each creditor listed below the collateral
                              that secures the creditor’s claim. The Debtor requests that upon
                              confirmation of this plan or upon approval of any modified plan the stay
                              under 11 U.S.C. §362(a) be terminated as to the collateral only and that
                              the stay under §1301 be terminated in all respects. Any allowed
                              unsecured claim resulting from the disposition of the collateral will be
                              treated in Part 4 below.

                 Name of Creditor                             Description of Collateral to be Surrendered




  G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax
     liens. Check One:

                          None.
                          If this is checked, the rest of § 2.G need not be completed or reproduced.

                   ☐      The Debtor moves to avoid the following judicial and/or nonpossessory,
                          nonpurchase money liens of the following creditors pursuant to § 522(f) (this §
                          should not be used for statutory or consensual liens such as mortgages).

 Name of Lien Holder

 Lien Description
 For judicial lien, include
 court and docket number.



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 Description of the
 liened property


 Liened Asset Value
 Sum of Senior Liens
 Exemption Claimed
 Amount of Lien
 Amount Avoided



3. PRIORITY CLAIMS.

       A. Administrative Claims

     1.    Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed
           by the United States Trustee.

     2.    Attorney’s fees. Complete only one of the following options:

           a. In addition to the retainer of $0.00 already paid by the Debtor, the amount of
              $4,500.00 in the plan. This represents the unpaid balance of the presumptively
              reasonable fee specified in L.B.R. 2016-2(c); or

           b. $ __________ per hour, with the hourly rate to be adjusted in accordance with
              the terms of the written fee agreement between the Debtor and the attorney.
              Payment of such lodestar compensation shall require a separate fee application
              with the compensation approved by the Court pursuant to L.B.R. 2016-2(b).

     3.    Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above. Check
           one:

                      None.
                      If this is checked, the rest of § 3.A.3 need not be completed or reproduced.

                ☐      The following administrative claims will be paid in full.


                    Name of Creditor                                 Estimated Total Payment




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  B. Priority Claims (including certain Domestic Support Obligations).

       Allowed unsecured claims entitled to priority under § 1322(a) will be paid in full
       unless modified under §9.


                  Name of Creditor                                 Estimated Total Payment




  C. Domestic Support Obligations assigned to or owed to a governmental unit
     under 11 U.S.C. §507(a)(1)(B). Check one:

                 None.
                 If this is checked, the rest of § 3.C need not be completed or reproduced.

          ☐      The allowed priority claims listed below are based on a domestic support
                 obligation that has been assigned to or is owed to a governmental unit and will be
                 paid less than the full amount of the claim. This plan provision requires that
                 payments in § 1.A. be for a term of 60 months (see 11 U.S.C. §1322(a)(4)).

                  Name of Creditor                                 Estimated Total Payment




4. UNSECURED CLAIMS.

  A.    Claims of Unsecured Nonpriority Creditors Specially Classified. Check one:

                 None.
                 If this is checked, the rest of § 4.A need not be completed or reproduced.


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          ☐     To the extent that funds are available, the allowed amount of the following
                unsecured claims, such as co-signed unsecured debts, will be paid before other,
                unclassified, unsecured claims. The claim shall be paid interest at the rate stated
                below. If no rate is stated, the interest rate set forth in the proof of claim shall
                apply.

       Name of Creditor             Reason for Special         Estimated         Interest     Estimated
                                      Classification           Amount of          Rate          Total
                                                                Claim                         Payment




  B.    Remaining allowed unsecured claims will receive a pro-rata distribution of funds
        remaining after payment of other classes.

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one:

               None.
               If this is checked, the rest of § 5 need not be completed or reproduced.

          ☐    The following contracts and leases are assumed (and arrears in the allowed claim
               to be cured in the plan) or rejected:

   Name of Other          Description of       Monthly    Interest   Estimated       Total  Assume or
      Party                Contract or         Payment     Rate       Arrears         Plan    Reject
                              Lease                                                 Payment




6. VESTING OF PROPERTY OF THE ESTATE.

  Property of the estate will vest in the Debtor upon

  Check the applicable line:
        X     plan confirmation.
       ___    entry of discharge.
       ____   closing of case.


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7. DISCHARGE: (Check one)

        X The debtor will seek a discharge pursuant to § 1328(a).
        __ The debtor is not eligible for a discharge because the debtor has previously received a
           discharge described in § 1328(f).

8. ORDER OF DISTRIBUTION:

    If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
    the Trustee will treat the claim as allowed, subject to objection by the Debtor.


    Payments from the plan will be made by the Trustee in the following order:
    Level 1: _________________________________________________
    Level 2: _________________________________________________
    Level 3: _________________________________________________
    Level 4: _________________________________________________
    Level 5: _________________________________________________
    Level 6: _________________________________________________
    Level 7: _________________________________________________
    Level 8: _________________________________________________

 If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
 Levels are not filled-in, then the order of distribution of plan payments will be determined by the
 Trustee using the following as a guide:

 Level 1: Adequate protection payments.
 Level 2: Debtor’s attorney’s fees.
 Level 3: Domestic Support Obligations.
 Level 4: Priority claims, pro rata.
 Level 5: Secured claims, pro rata.
 Level 6: Specially classified unsecured claims.
 Level 7: Timely filed general unsecured claims.
 Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.


9. NONSTANDARD PLAN PROVISIONS.
Include the additional provisions below or on an attachment. Any nonstandard provision placed
elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as one document,
not as a plan and exhibit.)




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When Debtor’s non-filing spouse becomes employed, Debtor shall immediately notify counsel.
Within a reasonable period of time, Debtor’s counsel shall file any and all required amendments.


Dated: March 4, 2022                                    /s/ Jason P. Provinzano, Esquire
                                                        Attorney for Debtor

                                                        Erica Lelah Berta
                                                        Debtor


                                                        Joint Debtor

 By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
 also certifies that this plan contains no nonstandard provisions other than those set out in § 9.




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